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                                   1                                 UNITED STATES DISTRICT COURT

                                   2                                NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                        TECHNOLOGY PROPERTIES LIMITED
                                   4    LLC, et al.,                                        Case No. 12-cv-03863-VC

                                   5                   Plaintiff,
                                                                                            ORDER OF DISMISSAL
                                   6            v.

                                   7    BARNES & NOBLE, INC.,
                                   8                   Defendant.

                                   9

                                  10          The Court has been advised by the Joint Notice of Settlement and Motion for Stay of

                                  11   Deadlines filed on July 22, 2015 that the parties have resolved this case. (Dkt. No. 117).

                                  12   Therefore, it is ORDERED that this case is DISMISSED without prejudice. All deadlines and
Northern District of California
 United States District Court




                                  13   hearings in the case are vacated. Any pending motions are moot.

                                  14          The parties retain the right to reopen this action within 60 days of this Order if the

                                  15   settlement is not consummated. If a request to reinstate the case is not filed and served on

                                  16   opposing counsel within 60 days, the dismissal will be with prejudice.

                                  17          IT IS SO ORDERED.

                                  18   Dated: July 24, 2015

                                  19                                                    ______________________________________
                                                                                        VINCE CHHABRIA
                                  20                                                    United States District Judge
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